                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                      CRIMINAL DOCKET NO.: 5:98CR109-2-V

UNITED STATES OF AMERICA        )
                                )
           vs.                  )                        ORDER
                                )
MAGUESTE PLASIMOND,             )
           Defendant.           )
________________________________)

      THIS MATTER is before the Court on the Judgment of the Fourth Circuit Court of

Appeals, filed June 18, 20051, remanding this case for resentencing.

      IT IS, THEREFORE, ORDERED THAT:

      1) This matter is hereby scheduled for resentencing on Tuesday, February 21,

      2006, at 11:30 AM in the Statesville Division;

      2) The U.S. Marshal is directed to return Defendant to the Western District of North

      Carolina on or before January 20, 2006; and

      3) A copy of this order shall be sent to the Defendant, Federal Defender, United

      States Attorney, United States Marshal Service, United States Probation Office, and

      Courtroom Deputy.




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          The mandate issued October 19, 2005.



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                    Signed: December 9, 2005




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